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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF MONTANA
                       GREAT FALLS DIVISION


 INDIGENOUS ENVIRONMENTAL                 CV 17-29-GF-BMM
 NETWORK, et al.,                         CV 17-31-GF-BMM

 and                                      Consolidated

 NORTHERN PLAINS RESOURCE                 DEFENDANTS’ RESPONSE TO
 COUNCIL, et al.,                         NORTHERN PLAINS’
                                          PLAINTIFFS’ RESPONSE TO
            Plaintiffs,                   DEFENDANTS’ PROPOSED
 v.                                       SCHEDULE FOR COMPLETING
                                          A SUPPLEMENTAL
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    UNITED STATES DEPARTMENT OF                   ENVIRONMENAL IMPACT
    STATE, et al.,1                               STATEMENT

                 Defendants,
    and

    TRANSCANADA CORPORATION, et
    al.,

                 Defendant-Intervenors.



          Defendants submit this brief response to address certain points made in

Northern Plains Plaintiffs’ Response to Defendants’ Proposed Schedule for

Completing a Supplemental EIS (“Pls. Resp.”) (ECF No. 212).

          First, Plaintiffs claim that Defendants have offered an unrealistic schedule.

Defendants disagree with this assessment and, as the entities charged with

undertaking and completing the required statutory processes, Defendants are better

positioned to determine the feasibility of the schedule. See Vermont Yankee v.

NRDC, 435 U.S. 519, 544-545 (1978) (absent substantial justification, on remand

the reviewing court is not to dictate “to the agency the methods, procedures, and

time dimension of the needed inquiry” because to do otherwise, “clearly runs the

risk of propelling the court into the domain which Congress has set aside


1
 Former Under Secretary of State Thomas A. Shannon, Jr., should be terminated as
a party in these consolidated cases. Mr. Shannon has retired from the U.S.
Department of State. Current Secretary of State Michael R. Pompeo should be
substituted for Mr. Shannon pursuant to Fed. R. Civ. P. 25(d).
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exclusively for the administrative agency”) (citation and internal quotation marks

omitted). In any event, our schedule necessarily provides only estimates of the

likely completion dates of a draft and final supplemental environmental impact

statement (“SEIS”). For many of the reasons that Plaintiffs mention, the time

necessary to complete an SEIS usually cannot be guaranteed. Certain tasks may

take longer than expected, in which case the completion dates for the draft and

final SEIS will be later than is laid out in the proposed schedule.

      Second, despite Plaintiffs’ contrary suggestions, Defendants will follow all

applicable regulatory procedures in preparing the SEIS, including public input on

the draft SEIS. Consistent with this process, a Federal Register notice announcing

the commencement of the SEIS process was published last week. See Notice of

Intent, 83 Fed. Reg. 46,989 (Sept. 17, 2018). If at the end of the process, Plaintiffs

nonetheless believe that the procedures followed have been inadequate, they will

have the opportunity to bring such claims before the Court.

      Third, Plaintiffs are concerned that the SEIS will not be completed in time to

allow for Court review of the SEIS before TransCanada begins construction

activities relating to the Keystone XL Pipeline. With this concern in mind,

Defendants crafted a schedule for completion of the SEIS by the end of the year

with decisions by the agencies to follow in January and early February 2019.

Defendants do not believe that the SEIS can be completed more quickly, and


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therefore any suggestion by Plaintiffs that the SEIS schedule should be more

compressed to accommodate the Court’s review should be rejected. Defendants

are prepared to discuss a schedule for further proceedings with the parties and the

Court at the September 25, 2018 status conference.

      Respectfully submitted this 24th day of September, 2018,

                                JEFFREY H. WOOD
                                Acting Assistant Attorney General
                                United States Department of Justice
                                Environment and Natural Resources Division

                                SETH M. BARSKY, Section Chief

                                /s/ Bridget K. McNeil____________
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                        CERTIFICATE OF SERVICE

      I hereby certify that on September 24, 2018, a copy of the foregoing

Defendants’ Response to Northern Plains Plaintiffs’ Response to Defendants’

Proposed Schedule for Completing a Supplemental Environmental Impact

Statement was served on all counsel of record via the Court’s CM/ECF system.


                               /s/ Luther L. Hajek
                               LUTHER L. HAJEK
                               U.S. Department of Justice




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